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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                        PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &                       CIVIL ACTION NO. 6:22-CV-885-RRS-CBW
   PREVENTION; et al.,

                                      DEFENDANTS.


        STIPULATION REGARDING SCHEDULE FOR RESOLUTION OF PLAINTIFFS’ MOTION FOR A
                                 PRELIMINARY INJUNCTION

         Plaintiff States and Federal Defendants have agreed upon a schedule and related procedural

  matters for briefing of Plaintiff States’ motion for a preliminary injunction filed on April 14, 2022,

  subject to this Court’s approval. The parties jointly propose the following schedule:



         Thursday, April 14, 2022:       Plaintiff States filed their motion for a preliminary injunction.

         Friday, April 29, 2022:         Federal Defendants’ opposition brief, not to exceed 45 pages,

                                         absent relief from this Court, is due. Federal Defendants shall

                                         also produce the administrative record with their opposition

                                         brief.

         Monday, May 9, 2022:            Plaintiff States’ reply brief, not to exceed 25 pages, absent

                                         relief from this Court, is due at 10am CST.

         May 11-16, 2022:                Oral argument on the preliminary injunction if desired by the

                                         Court




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          The parties have agreed upon this schedule to permit this Court to decide the motion for a

  preliminary injunction before the challenged agency action becomes effective on May 23, 2022. The

  parties respectfully and jointly request that this Court enter the attached proposed order adopting the

  parties’ proposal.




  Dated: April 14, 2022                               Respectfully submitted,

                                                      By:/s/ Elizabeth B. Murrill

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